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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF DELAWARE

CHRISTOPHER R. DESMOND,

              Plaintiff,


              v.                            : Civ. No. 15-327-LPS

PERRY PHELPS, et al.,

              Defendants.




Christopher R. Desmond, James T. Vaughn Correctional Center, Smyrna, Delaware, Pro Se Plaintiff.




                                MEMORANDUM OPINION




September 1, 2015
Wilmington, Delaware
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I.        INtRODUCTION

          Plaintiff Christopher R. Desmond ("Plaintiff'), an inmate at the James T. Vaughn

Correctional Center in Smyrna, Delaware, filed this action as an emergency motion for injunctive

relief, specifically for medical treatment. (D.L 1) Plaintiff appears pro se and has been granted leave

toproceedinformapauperis. (D.L 5) Plaintiff has filed numerous motions (D.L 5, 15, 16, 20), all of

which the Court addresses. In addition, the Court proceeds to review and screen the initial pleading

pursuant to 28 V.S.c. § 1915(e)(2)(b) and § 1915A(a).

II.       BACKGROUND

          The Court construes the emergency motion for injunctive relief as a complaint alleging

deliberate indifference to Plaintiffs serious medical needs pursuant to 42 U.S.c. § 1983. 1 Plaintiff

alleges that he suffers from high blood pressure, his medication protocol is not working, and

Defendants (presumably former Delaware Bureau of Prisons Chief Perry Phelps ("Phelps,,)2 and

VCC Warden David Pierce ("Pierce"») are delaying outside treatment. He seeks immediate medical

care.

          After the case was opened, Plaintiff contacted the Court and advised that he had not filed a

new civil action and had not authorized any new civil actions in his name. (Jee D.L 10) As

explained in the Court's June 23,2015 Order, although the instant pleading references Civ. No.

121120-SLR, it seeks medical treatment and is unrelated to Civ. No. 12-1120-SLR, which is a case

that alleges constitutional and statutory violations with regard to the practice of religion and, more




1   The Court will direct the Clerk of Court to indicate on the court docket that D.L 1 is a complaint.

2   Phelps currently hold the position of Delaware Department of Correction Deputy Commissioner.

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particulMly, Catholicism. Because of the instant pleading's content seeking medical treatment, a new

case was opened, and Plaintiff was given leave to proceed informa pauperis so that his medical needs

claims could be addressed by the Court. (See D.l. 11) In the same order, Plaintiff was ordered to

advise the Court whether he wished to proceed with this action or have the pleading docketed in his

other pending case, Civ. No. 12-1120-SLR. Plaintiff did not comply with the order. Instead, he

filed a motion to file an amended complaint (D.l. 15), a motion to convene a medical malpractice

review panel (D.l. 16), and a motion to stay (D.l. 20).

III.    LEGAL STANDARDS

        A federal court may properly dismiss an action sua sponte under the screening provisions of

28 U.S. C. § 1915 (e) (2) (B) and § 1915A(b) if "the action is frivolous or malicious, fails to state a claim.

upon which relief may be granted, or seeks monetary relief from a defendant who is immune from

such relief." Bali v. Famiglio, 726 F.3d 448,452 (3d Cir. 2013); see also 28 U.S.c. § 1915(e)(2) (in forma

pauperis actions); 28 U.S.c. § 1915A (actions in which prisoner seeks redress from governmental

defendant); 42 U.S.c. § 1997e (prisoner actions brought with respect to prison conditions). The

Court must accept all factual allegations in a complaint as true and take them in the light most

favorable to a pro se plaintiff. See Phillips v. Coun!y 0/Alieghe1!J, 515 F.3d 224, 229 (3d Cir. 2008);

Erickson v. Pardus, 551 U.S. 89, 93 (2007). Because Plaintiff proceeds pro se, his pleading is liberally

construed and his Complaint, "however inartfully pleaded, must be held to less stringent standards

than foonal pleadings drafted by lawyers." Erickson, 551 U.S. at 94 (citations omitted).

        An action is frivolous if it "lacks an arguable basis either in law or in fact." Neitzke v.

Williams, 490 U.S. 319,325 (1989). Under 28 U.S.c. § 1915(e)(2)(B)(i) and § 1915A(b)(1), a court

may dismiss a complaint as frivolous if it is "based on an indisputably meritless legal theory" or a

"clearly baseless" or "fantastic or delusional" factual scenario. Neitzke, 490 at 327-28; see also Wilson


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tf.   Rackmill, 878 F.2d 772, 774 (3d Cit. 1989); Deutsch tf. United States, 67 F.3d 1080, 1091-92 (3d Cit.

1995) (holding frivolous a suit alleging that prison officials took an inmate's pen and refused to give

it back).

           The legal standard for dismissing a complaint for failure to state a claim pursuant to

§ 1915(e)(2)(B)(ii) and § 1915A(b) (1) is identical to the legal standard used when ruling on Rule

12(b)(6) motions. See Tourscherv. McCullough, 184 F.3d 236, 240 (3d Cit. 1999) (applymg Fed. R. Civ.

P. 12(b)(6) standard to dismissal for failure to state claim under § 1915(e)(2)(B». However, before

dismissing a complaint or claim for failure to state a claim upon which relief may be granted

pursuant to the screening provisions of 28 U.S.c. §§ 1915 and 1915A, the Court must grant Plaintiff

leave to amend his complaint, unless amendment would be inequitable or futile. See Grqyson v.

Mqyview State Hosp., 293 F.3d 103, 114 (3d Cit. 2002).

           A complaint may be dismissed only if, accepting the well-pleaded allegations in the

complaint as true and viewing them in the light most favorable to the plaintiff, a court concludes

that those allegations «could not raise a claim of entidement to relief." BellAtl. Cotp. v. TwomblY, 550

U.S. 544, 558 (2007). Though "detailed factual allegations" are not required, a complaint must do

more than simply provide "labels and conclusions" or "a formulaic recitation of the elements of a

cause of action." Davis v. Abington Mem'l Hosp., 765 F.3d 236, 241 (3d Cit. 2014) (quoting TwomblY,

550 U.S. at 555). In addition, a plaintiff must plead facts sufficient to show that a claim has

substantive plausibility. See Johnson   tf.   Ciry tif Shelf?y, _U.S._, 135 S.Ct. 346, 347 (2014); see also

Ashcroft tf. Iqbal, 556 U.S. 662, 678 (2009). A complaint may not dismissed, however, for imperfect

statements of the legal theory supporting the claim asserted. See Johnson, 135 S.Ct. at 346.

           To determine whether a complaint meets the pleading standard as set forth in TwomblY and

Iqbal, the Court must (1) oudine the elements a plaintiff must plead to a state a claim for relief;


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(2) peel away those allegations that are no more than conclusions and thus not entided to the

assumption of truth; and (3) look for well-pled factual allegations, assume their veracity, and then

"determine whether they plausibly give rise to an entidement to relief." Bistrian 11. Levi, 696 F.3d 352,

365 (3d Cir. 2012) (internal citations omitted) (citing Iqbal, 556 U.S. at 679; Ar;gueta v. United States

Immigration and Customs Enforcement, 643 F.3d 60, 73 (3d Cir. 2011». The last step is "a context­

specific task that requires the reviewing court to draw on its judicial experience and common sense."

Iqbal, 556 U.S. at 679.

IV.      DISCUSSION

         Phelps and Pierce are named defendants. A civil rights complaint must state the conduct,

time, place, and persons responsible for the alleged civil rights violations. See Evancho v. Fisher, 423

F.3d 347,353 (3d Cir. 2005) (citing Bqykins v. Ambridge Area Sch. Dis!., 621 F.2d 75,80 (3d Cir. 1980);

Hall v. Penn.rylvania State Police, 570 F.2d 86, 89 (3d Cir. 1978». There are no allegations in the

complaint directed toward either Defendant. Therefore, the complaint will be dismissed pursuant to

28 USc. §§ 1915(e)(2)(B)(ii) and 1915A(b)(1) for failure to state a claim upon which relief may be

granted. However, since it appears plausible that Plaintiff may be able to articulate a claim against

Defendants (or name alternative defendants), he will be given an opportunity to amend his pleading.

See 0 'Dell v. United States Gov't, 256   App'x 444 (3d Cir. Dec. 6, 2007) O-eave to amend is proper

where plaintiffs claims do not appear "patendy meridess and beyond all hope of redemption").

V.       MOTIONS

         A.      Motion for Reversionary Interest in Filing Fee

         Plaintiff, along with Joseph M. Walls (''Walls''), filed Civ. No. 12-1120-SLR, pursuant to 42

U.S.c. § 1983 and the Religious Land Use and Institutionalized Persons Act. The filing fee was paid

by Constance W. Scott-Conley on behalf of Abdul Madfidh as Salafi and later in the proceedings,

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Walls was granted leave to proceed in forma pauperis. Plaintiff filed the instant pleading in Civ. No.

12-1120-SLR and, as discussed above, on April 22, 2015, a new case was opened because the issue in

the instant pleading is unrelated to the issues raised in Civ. No. 12-1120-SLR. Plaintiff argues that

this case and Civ. No. 12-1120-SLR are the same, that he has a property interest in the filing fee that

was paid in Civ. No. 12-1120-SLR, and that due process dictates that the Court not confiscate his

filing fee twice to file the same civil action. He asks the Court to withdraw its May 6, 2015 order

(D.I. 3) that requires him to submit an application to proceed in forma pauperis and his prison trust

account statement. (D.I. 5)

        Since the filing of the motion, Plaintiff has submitted his prison trust account statement and

an application to proceed informa pauperis that has been granted. In addition, Plaintiff opted to file

this pleading and was given the option of not proceeding with the case. He is required by statute to

pay the filing fee. See 28 U.S.c. § 1914; 28 U.S.c. § 1915. Therefore, the Court will deny the

motion. (D.I. 5)

        B.      Motion to Amend

        Plaintiff moves to amend pursuant to Fed. R. Civ. P. 15. (D.I. 15) The proposed

amendment adds a plaintiff, defendants, and raises claims unrelated to Plaintiffs medical needs

claim regarding treatment for his hypertensive condition.

        Pursuant to Fed. R. Civ. P. 15(a), a party may amend its pleading once as a matter of course

within twenty-one days after serving it or, if the pleading is one to which a responsive pleading is

required, twenty-one days after service of a responsive pleading or twenty-one days after service of a

Rule 12(b) motion, whichever is earlier. Otherwise, a party may amend its pleading only with the

opposing party's written consent or the court's leave. Rule 15 provides that courts should freely give

leave to amend when justice so requires.

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        The Third Circuit has adopted a liberal approach to the amendment of pleadings in an effort

to ensure that "a particular claim will be decided on the merits rather than on technicalities." Dole v.

Arco Chem. Co., 921 F.2d 484, 486-87 (3d Cir. 1990) (citations omitted). Amendment, however, is

not automatic. See Dover Steel Co., Inc. v. HarifordAccident and Indem., 151 F.R.D. 570, 574 (ED. Pa.

1993). Leave to amend should be granted absent a showing of "undue delay, bad faith or dilatory

motive on the part of the movant, repeated failure to cure deficiencies by amendments previously

allowed, undue prejudice to the opposing party by virtue of the allowance of the amendment, futility

of amendment, etc." Foman v. Davis, 371 U.S. 178, 182 (1962); see also Oran v. Sttifford, 226 F.3d 275,

291 (3d Cir. 2000). Futility of amendment occurs when the complaint, as amended, does not state a

claim upon which relief can be granted. See In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410,

1434 (3d Cir. 1997). If the proposed amendment "is frivolous or advances a claim or defense that is

legally insufficient on its face, the court may deny leave to amend." Hamson Beverage Co. v. Dribeck

Importers, Inc., 133 F.R.D. 463, 468 (D.N.J. 1990).

        Plaintiff attempts to add new defendants and claims that are unrelated to the original

complaint. In viewing the proposed amendment, the new claims do not appear to be logically or

factually related to the original filings. Therefore, the motion will be denied. Plaintiffs remedy is to

file a new complaint.

        C.      Motion to Convene Medical Malpractice Review Panel

        Plaintiff moves the Court to convene a medical malpractice review panel pursuant to Fed. R.

Civ. P. 35 and Delaware Superior Court Civ. R. 71.2-71.2(b) to review his medical malpractice

claims. (D.l. 16) Rule 35 of the Federal Rules of Civil Procedure does not provide for a medical

review panel.




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        With regard to Ru1e 71.2(b), a "a party may file a demand to convene a malpractice review

panel at any time subsequent to entry of appearance by all defendants who have been served and

after a reasonable time for discovery unless otherwise stipulated to by the parties or ordered by the

Court." Section 6853(e) of the Delaware Health Care Negligence Insurance and Litigation Act

provides in pertinent part:

        No liability shall be based upon asserted negligence unless expert medical testimony
        is presented as to the alleged deviation from the applicable standard of care in the
        specific circumstances of the case and as to the causation of the alleged personal
        injury or death, except that such expert medical testimony shall not be required if a
        medical negligence review panel has found negligence to have occurred and to have
        caused the alleged personal injury or death and the opinion of such panel is admitted
        into evidence....

18 Del. C. § 6853(e). The Delaware Superior Court, reading § 6853(e) and Ru1e 71.2 together, has

held that no affidavit of merit is required under Section 6853 where a timely demand to convene a

medical malpractice review panel has been filed. See Miflerv. T qylor, 2010 WI.. 3386580, at *2 (Del.

Super. Aug. 19,2010).

        Section 6814 of the Delaware Health Care Negligence Insurance and Litigation Act provides

that the Delaware Insurance Commissioner shall convene a medical negligence review panel at the

request of a Federal District Court Judge sitting in a civil action in the District of Delaware alleging

medical negligence, in the manner instructed by the federal court, but also in a manner as consistent

as possible with the process of selecting such panels provided for in Superior Court actions. See 18

Del. C. § 6814. However, the Insurance Commissioner shall not convene any such panels at the

request of any such federal court "unless provisions are made for the payment of the compensation

and expenses of such panelists and the compensation and expenses of all witnesses called by such

panel out of the funds other than those of the General Fund of the State." Id.




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         The Court lacks authority to appoint a medical review panel for Plaintiff at the public's

expense. See e.g., Boring v.   Kozakiewic~   833 F.2d 468, 474 (3d Cit. 1987) ("Congress has authorized

the courts to waive prepayment of such items as filing fees and transcripts if a party qualifies to

proceed in forma pauperis. 28 U.S.c. § 1915. However, we have been directed to no statutory

authority nor to any appropriation to which the courts may look for payment of expert witness fees

in civil suits for damages. Provisions have been made for expert witness fees in criminal cases, 18

U.S.c. § 3006A(e) (1 ), but not in civil damage suits."). Nor has Plaintiff, who has been granted in

forma pauperis status, indicated that he has the financial means for compensation and expenses of the

medical review panel.

         Accordingly, the Court will deny without prejudice the motion to convene a medical

malpractice review panel. The Court will reconsider the motion upon a showing by Plaintiff of his

financial ability to pay the compensation and expenses of the medical review panel.

         D.      Motion to Stay

         Plaintiff moves to stay or for an abeyance while he awaits a decision from the Superior Court

of the State of Delaware interpreting 11 Del. C. § 6536 regarding medical care for inmates. (D.I. 20)

It does not appear that Plaintiff has a case pending in the Delaware courts. Regardless, an

interpretation of 11 DeL C. § 6536 is unnecessary for the disposition of this case. Therefore, the

motion will be denied.

VI.      CONCLUSION

         For the above reasons, the court will dismiss the Complaint for failure to state a claim upon

which relief may be granted. Plaintiff will be given leave to amend his complaint. In addition, the

Court will deny the remalnlng motions (D.I. 5, 15, 16,20).

         An appropriate order will be entered.

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